8:11-cr-00053-BCB-MDN   Doc # 138   Filed: 11/18/14   Page 1 of 1 - Page ID # 422



           IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )               8:11CR53
                              )
          v.                  )
                              )
IGNACIO RUBIO HERNANDEZ,      )                 ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s pro se

motion for reduction of sentence under Sentencing Guideline

Amendment 782 (Filing No. 137).

           IT IS ORDERED:

           1) Defendant’s pro se motion is held in abeyance

pursuant to General Order No. 2014-09.

           2) The clerk shall provide the defendant with a copy of

this order and General Order No. 2014-09 and shall also give

notice to the United States Attorney, the Federal Public

Defender, and to the Supervisory United States Probation Officer

who handles presentence reports.

           DATED this 18th day of November, 2014.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
